
*940OPINION.
Milliken:
This cause was submitted on the pleadings, and the findings of fact are those recited by petitioner in petition filed and which were admitted in answer filed by respondent. Is the petitioner entitled to the deduction claimed ?
In 1913, the debtor dissolved and its assets passed to the petitioner in satisfaction of its debts. Those assets consisted of merchandise, machinery, fixtures, and deeds of trust on Colorado property. The fair market value of the assets received by petitioner from its debtor in 1913 was capable of definite ascertainment, at least we presume so', for we have no evidence to the contrary. The loss resulting from the debts owed to petitioner by the Denver Pump &amp; Plumbing Co. was sustained at the time the assets of the latter were transferred in satisfaction of its obligations. The remainder of the debt, not satisfied by the assets received, was a loss sustained in 1913.

Judgment will he entered for the resfondent.

